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    16                        UNITED STATES DISTRICT COURT
    17                       CENTRAL DISTRICT OF CALIFORNIA
    18
         DELTA V FORENSIC                      Case No. 2:18-CV-02780-DDP-AFM
    19   ENGINEERING, INC., a North
         Carolina corporation,                  JUDGMENT
    20
                        Plaintiff,
    21                                          Hon. Dean D. Pregerson
               v.
    22                                          Complaint filed: April 4, 2018
    23   DELTA V BIOMECHANICS, INC.,
         a California Corporation, Does 1
    24   through 10, inclusive,
    25                  Defendants.
    26   DELTA V BIOMECHANICS, INC.,
         a California corporation,
    27
         Counter-Claimant,
    28


                                      [PROPOSED] JUDGMENT
Case 2:18-cv-02780-DDP-AFM Document 172 Filed 01/22/21 Page 2 of 3 Page ID #:5412



     1   v.
     2   DELTA V FORENSIC
         ENGINEERING, INC., a North
     3   Carolina corporation,
     4   Counter-Defendant.
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                                     [PROPOSED] JUDGMENT
Case 2:18-cv-02780-DDP-AFM Document 172 Filed 01/22/21 Page 3 of 3 Page ID #:5413



     1         Pursuant to this Court’s order granting Defendant and Counter-Claimant
     2   Delta V Biomechanics Inc. (“Defendant)’s motion for summary judgment and
     3   denying Plaintiff Delta [V] Forensic Engineering, Inc. (“Plaintiff”) partial
     4   summary judgment, and pursuant to the Court’s order granting Defendant’s request
     5   to dismiss its counterclaims without prejudice, IT IS HEREBY ORDERED
     6   ADJUDGED that Judgment be entered for Defendant and against Plaintiff in this
     7   action. Defendant shall recover its costs as the prevailing party.
     8         IT IS SO ORDERED.
     9
    10           January 22, 2021
         Dated: ________________
    11                                          _________________________________
    12                                          Hon. Dean D. Pregerson
                                                United States District Judge
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                                              JUDGMENT
